         Case 1:21-cr-00552-DLF Document 140-2 Filed 05/20/23 Page 1 of 4




From: Miller, Samantha (USADC)
Sent: Saturday, May 20, 2023 11:03 AM
To: Roger Roots; McCauley, Sean (USADC); Jonathan Moseley; John Pierce; Emily Lambert
Subject: RE: missing an Ainsworth 302


Mr. Roots,

Respectfully, no.

Per the below screenshots, on or before May 5, 2023, we provided you with a number of files, including
the one entitled “089B-WF-3368293-214_AFO_0000002(1).” This is a 2/12/2021 302 of Ainsworth. We
also provided you with a file entitled “0176-JK-3496432_0000028.” This is a 3/28/2023 302 of
Ainsworth. On May 17, 2023, we provided you with the two 302s summarizing our trial prep with Cpl
Ainsworth, all of which occurred in May 2023. These constitute the totality of the 302s of Cpl
Ainsworth, unless you can provide us with a different one of which we are not aware.

In addition, after just now speaking with one of the prosecutors on the Wren/Smith case, I can tell you
the following;

    1. Ainsworth was not a witness in that trial.
    2. Ainsworth was not a named victim in that trial.
    3. Campanale’s BWC from the 4pm timeframe, which is and has been available to you (as is
       evidenced by the fact that you pulled a portion of it yourself that formed one of your defense
       exhibits already in this case, D-Ex. 236), shows he was not near Wren during the 4:22 PM EST
       push, and was in fact on a lower level of the Upper West Terrace at that time; he had nothing to
       do with Defendant Wren’s push on officers’ shields. Campanale’s testimony related to the other
       Defendant, Defendant Smith, and discussed how Defendant Smith picked up a metal pole and
       threw it at Officer Campanale around 4:26 PM EST.

This is the last communication we plan to have on this matter or on the subject of your most recent
filings. We will take this up before the Judge on Monday.
        Case 1:21-cr-00552-DLF Document 140-2 Filed 05/20/23 Page 2 of 4




Have a nice weekend.
Case 1:21-cr-00552-DLF Document 140-2 Filed 05/20/23 Page 3 of 4
         Case 1:21-cr-00552-DLF Document 140-2 Filed 05/20/23 Page 4 of 4




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